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                      IN THE UNITED STATES DISTRICT COURT
                    FOR THE SOUTHERN DISTRICT OF MISSISSIPPI
                                EASTERN DIVISION

                                                  )
LOTTIE THOMPSON-GROVES and                        )
WILLIAM GROVES                                    )
Plaintiffs,                                       )
                                                               CIVIL ACTION NO.
                                                  )
v.
                                                  )
THE CRAB HOUSE, INC. and BLACK                                 2:19-cv-188-KS-MTP
                                                  )
BIRD PROPERTIES, LLC                              )
Defendants.                                       )
                                                  )
                                                  )

                           JOINT STIPULATION OF DISMISSAL

       Pursuant to Federal Rules of Civil Procedure 41(a)(1)(ii), all parties hereby stipulate to

the dismissal of this action with prejudice, with each party to bear its own costs. The parties

further stipulate that this Court retains jurisdiction to enforce any settlement agreement.


Respectfully submitted this 8th day of April 2020.



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                                CERTIFICATE OF SERVICE

       This is to certify that on April 8, 2020, I filed the foregoing with the Clerk of Court by

the CM/ECF system which will send a notice of electronic filing to all parties of record.


                                      /s/Pshon Barrett
                                      Pshon Barrett, Esq.




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